             IN THE UNITED STATES DISTRICT COURT
           FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

CHELSEY GOSSE, on her own behalf
                               )
and on behalf of other persons similarly
                               )
situated,                        Case No. 3:20-cv-01446-RDM
                               )
          Plaintiff,           ) Hon. Robert D. Mariani
                               )
    v.                         ) Electronically Filed
TRANSWORLD SYSTEMS, INC.; U.S. )
BANK, NA.; RATCHFORD LAW       )
GROUP, P.C.; NATIONAL          )
COLLEGIATE STUDENT LOAN        )
TRUST 2007-3,                  )
          Defendants.          )


 MEMORANDUM OF LAW IN SUPPORT OF U.S. BANK NATIONAL
 ASSOCIATION’S MOTION TO DISMISS PLAINTIFF’S COMPLAINT
                                       TABLE OF CONTENTS

                                                                                                                   Page

I.     Introduction.....................................................................................................1
II.    Factual Background ........................................................................................2
       A.       The Present Dispute..............................................................................2
       B.       The Trusts .............................................................................................3
III.   Standard of Review.........................................................................................6
IV.    Argument ........................................................................................................7
       A.       Gosse’s UTPCPL Claim is Barred by Pennsylvania’s Absolute
                Judicial Privilege Doctrine ...................................................................7
       B.       Gosse Fails to Satisfy the Pleading Requirements of the
                UTPCPL ...............................................................................................7
                1.        Gosse Does Not Allege Any Particular Wrongful
                          Conduct Under the UTPCPL .....................................................8
                2.        Gosse Is Not A “Purchaser” Vis-à-Vis U.S. Bank Under
                          The UTPCPL..............................................................................9
                3.        Gosse Cannot Plead that She Justifiably Relied on Any
                          Conduct or Representation by U.S. Bank ................................10
                4.        Neither Can Gosse Plead that She Suffered an
                          Ascertainable Loss ...................................................................13
       C.       U.S. Bank Cannot Be Held Indirectly Liable.....................................14
                1.        TSI Acts on Behalf of the Trusts, Not U.S. Bank....................16
                2.        U.S. Bank Lacks the Requisite Control over TSI ....................17
       D.       Gosse Does Not (and Cannot) Assert Count II Against U.S.
                Bank....................................................................................................19
V.     CONCLUSION.............................................................................................20




                                                          -i-
                                     TABLE OF AUTHORITIES

                                                                                                              Page

CASES

A.B. v. Marriott Int’l, Inc.,
   455 F. Supp. 3d 171 (E.D. Pa. 2020) ..................................................................17

Ashcroft v. Iqbal,
   556 U.S. 662 (2009) ....................................................................................6, 8, 14

Bainbridge v. Ocwen Loan Servicing, LLC,
   No. 3:16-CV-0411, 2017 WL 1178047 (M.D. Pa. Mar. 30, 2017) ................7, 13

Bell Atl. Corp. v. Twombly,
   550 U.S. 544 (2007) ..............................................................................................6

Belmont v. MB Inv. Partners, Inc.,
   708 F.3d 470 (3d Cir. 2013) .........................................................................11, 13

Binder v. Triangle Publ’ns, Inc.,
   275 A.2d 53 (Pa. 1971) .........................................................................................7

Black v. Field Asset Servs., LLC,
   No. 17-4003, 2018 WL 5264319 (E.D. Pa. Oct. 23, 2018) ..........................17, 19

Bronstein v. Bayview Loan Servicing, LLC,
   No. 18-4223, 2020 WL 703652 (E.D. Pa. Feb. 11, 2020) .................................... 7

Castle Cheese, Inc. v. MS Produce, Inc.,
  No. 04-878, 2008 WL 4372856 (W.D. Pa. Sept. 19, 2008) ...............................17

CFPB v. Nat’l Collegiate Master Student Tr.,
  No. 17-1323 (MN), 2020 WL 2915759 (D. Del. May 31, 2020) .......................15

CGB Occupational Therapy, Inc. v. RHA Health Servs. Inc.,
  357 F.3d 375 (3d Cir. 2004) ...............................................................................15


                                                         -ii-
Doe v. Univ. of Scis.,
  961 F.3d 203 (3d Cir. 2020) .............................................................................3, 6

Doherty v. Allstate Indem. Co.,
  No. 15-05165, 2016 WL 5390638 (E.D. Pa. Sept. 27, 2016)............................... 9

Duffy v. Lawyers Title Ins. Co.,
  972 F. Supp. 2d 683 (E.D. Pa. 2013) ..................................................................12

Edwards v. Monumental Life Ins. Co.,
  No. 17-5260, 2017 WL 6327573 (E.D. Pa. Dec. 11, 2017) ...............................11

Fairmont Supply Co. v. Cressman Tubular Prod. Corp.,
   No. 10-cv-1606, 2011 WL 1327416 (W.D. Pa. Apr. 6, 2011) ...........................15

Garczynski v. Countrywide Home Loans, Inc.,
  656 F. Supp. 2d 505 (E.D. Pa. 2009) .................................................................... 9

Genesis Bio-Pharm., Inc. v. Chiron Corp.,
  27 F. App’x 94 (3d Cir. 2002) ..................................................................6, 12, 18

Gordon v. Pa. Blue Shield,
  548 A.2d 600 (Pa. Super. Ct. 1988)....................................................................11

Hunt v. U.S. Tobacco Co.,
  538 F.3d 217 (3d Cir. 2008) ...............................................................................11

In re Nat’l Collegiate Student Loan Trusts Litig.,
    No. 12111-VCS, 2020 WL 5049402 (Del. Ch. Aug. 27, 2020) .........................15

Katz v. Aetna Cas. & Sur. Co.,
  972 F.2d 53 (3d Cir. 1992) .................................................................................10

Kee v. Zimmer, Inc.,
  871 F. Supp. 2d 405 (E.D. Pa. 2012) .................................................................... 8

Laidley v. Johnson,
   No. 09-395, 2011 WL 2784807 (E.D. Pa. July 11, 2011) ..................................16


                                                     -iii-
Lawrence v. Trans Union LLC,
  296 F. Supp. 2d 582 (E.D. Pa. 2003) ..................................................................10

Mifflinburg Telegraph, Inc. v. Criswell,
   80 F. Supp. 3d 566 (M.D. Pa. 2015) ..................................................................... 6

Nolden v. United States,
  No. 1:12-cv-01541, 2013 WL 3102344 (M.D. Pa. June 18, 2013) ....................18

Pellegrino v. State Farm Fire & Cas. Co.,
   No. 12-2065, 2013 WL 3878591 (E.D. Pa. July 29, 2013), aff’d,
   586 F. App’x 129 (3d Cir. 2014) .......................................................................... 8

Portis v. River House Assocs., L.P.,
  498 F. Supp. 2d 746 (M.D. Pa. 2007) .................................................................10

Prukala v. Chase Bank, N.A.,
   No. 3:19-CV-1791, 2020 WL 5351042 (M.D. Pa. Sept. 4, 2020)
   (Mariani, J.).........................................................................................................20

Santana Prods., Inc. v. Bobrick Washroom Equip., Inc.,
   401 F.3d 123 (3d Cir. 2005) ................................................................................. 8

Schwartz v. OneWest Bank, FSB,
   614 F. App’x 80 (3d Cir. 2015) ............................................................................ 7

Stoudt v. Alta Fin. Mortg.,
   No. 08–cv–2643, 2009 WL 661924 (E.D. Pa. Mar. 10, 2009)...........................12

Walkup v. Santander Bank, N.A.,
  147 F. Supp. 3d 349 (E.D. Pa. 2015) ............................................................13, 14

Weinberg v. Sun Co.,
  777 A.2d 442 (Pa. 2001) ...........................................................................8, 11, 13

Williams v. Nat’l Sch. of Health Tech., Inc.,
   836 F. Supp. 273 (E.D. Pa. 1993) .......................................................................13



                                                           -iv-
RULES

Fed. R. Civ. P. 9(b) ....................................................................................................8

Fed. R. Civ. P. 12 .......................................................................................................3

Fed. R. Civ. P. 12(b)(6)..............................................................................................1

Local Rule 7.5 ............................................................................................................1

STATUTES

Fair Credit Extension Uniformity Act ...........................................................2, 19, 20

Pa. Stat. § 201-2(4) ....................................................................................................7

Pa. Stat. § 201-9.2 ............................................................................................7, 9, 10

Pa. Stat. § 2270.4(b) .................................................................................................19

U.S. Bank, under Pennsylvania’s Unfair Trade Practices Consumer
   Protection Law .............................................................................................passim




                                                            -v-
      Pursuant to Federal Rule of Civil Procedure 12(b)(6) and Local Rule 7.5,

Defendant U.S. Bank hereby submits this brief in support of its Motion to Dismiss

Plaintiff’s Complaint (Dkt. No. 21).

                             I.     INTRODUCTION

      Plaintiff Chelsey Gosse (“Gosse”) sues Transworld Systems, Inc. (“TSI”),

U.S. Bank National Association (“U.S. Bank”), Ratchford Law Group, P.C.

(“Ratchford”), and National Collegiate Student Loan Trust 2007-3 (the “Trust”)

(collectively, “Defendants”), alleging that the Trust improperly filed a collections

lawsuit against Gosse.     Gosse’s Complaint (Dkt. No. 1) is based entirely on

unsupported allegations that are borrowed from plaintiffs in other cases and that have

no relationship to this case. But more particularly here, Gosse fails to state the only

claim she alleges against U.S. Bank, under Pennsylvania’s Unfair Trade Practices

Consumer Protection Law (“UTPCPL”) (Count III). Initially, absolute judicial

privilege bars Gosse’s claim. Additionally, as a matter of statutory text, Gosse does

not (and cannot) allege that she was a “purchaser” vis-à-vis U.S. Bank, nor does (or

can) she allege she was subject to any unlawful “method, act, or practice” by U.S.

Bank. And Gosse does not (and cannot) identify any conduct or representation by

U.S. Bank on which she could have justifiably relied, nor can she allege that she

suffered ascertainable loss as a result. Finally, Gosse does not (and cannot) plausibly

allege that U.S. Bank can be vicariously liable under the UTPCPL for the alleged
misconduct of any other party. In short, because Gosse does not (and cannot) allege

that U.S. Bank had any role in the state collections suit or caused her harm, Gosse’s

Complaint must be dismissed as to U.S. Bank.

                       II.    FACTUAL BACKGROUND

      A.     The Present Dispute.
      Gosse took out student loans and then defaulted by not paying the amounts

owed. See Compl. ¶ 9a. The Trust, as owner of those loans, attempted to collect on

the loans through its Subservicer TSI and its counsel Ratchford and eventually sued

Gosse in state court. See id. ¶¶ 41–45. Gosse alleges that the Trusts could not

substantiate the loan based on an allegedly false affidavit from TSI, see id. ¶¶ 42–

49. The Complaint does not allege that U.S. Bank made any communications. The

state court collections litigation was dismissed. See id. ¶ 49. Gosse now brings

claims against the Defendants stemming from these collections attempts. Her

allegations concerning U.S. Bank are based entirely on unproven allegations

borrowed from plaintiffs in other cases that have no connection to Plaintiff’s case.

      Gosse’s Complaint contains three counts. Counts I and II are made under

federal and state debt-collection laws and are stated against Defendants TSI and

Ratchford, only, not U.S. Bank.1 The only claim Gosse brings against U.S. Bank is



      Count II also alleges violations of the Fair Credit Extension Uniformity Act
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(“FCEUA”) against the “remaining Defendants as creditors,” Compl. ¶ 93, but for
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for an alleged violation of the UTPCPL in Count III. But Gosse has not and cannot

allege the required elements of her state-law claim. Accordingly, her Complaint

should be dismissed as against U.S. Bank.

      B.     The Trusts.
      To help illustrate why Plaintiff cannot state a claim against U.S. Bank, it is

important to examine the contractual relationship between U.S. Bank and the Trust

in this case. As Gosse alleges, the Trust is one of a number of Delaware Statutory

Trusts formed between 2003 and 2007 for the purpose of acquiring student loans and

issuing debt securities through Indentures. See Compl. ¶ 12. These Trusts have no

officers or directors and act exclusively through limited agents or contractors with

specific duties, as set forth in a series of agreements. See id. ¶ 37.

      Servicers collect amounts due on the loans on behalf of the Trusts. For special

servicing (i.e., delinquent and default loan servicing), the Trusts’ Owner Trustee,

acting on behalf of the Trusts, entered into a Special Servicing Agreement with First

Marblehead Education Resources, Inc. (“FMER”) to act as Special Servicer.2 See


the reasons discussed herein Gosse does not—and cannot—assert a claim under
Count II against U.S. Bank. See infra subpart IV.D.
      2
         Gosse relies upon and expressly references the Special Servicing Agreement
(“SSA”) in her Complaint. See Compl. ¶ 19. She also makes a number of allegations
that directly implicate U.S. Bank’s contractual relationship with Defendant TSI, see,
e.g., id. ¶¶ 16, 19, 21–23, as memorialized in the TSI Agreement attached as an
exhibit and incorporated by reference into the SSA and consented to by the Trust
through its Owner Trustee and the Administrator. Consideration of these documents
is therefore proper under Rule 12. See Doe v. Univ. of Scis., 961 F.3d 203, 208 (3d
                                           3
Ex. A, Special Servicing Agreement (“SSA”) § 2.A. The SSA appointed U.S. Bank

as the Back-Up Special Servicer to automatically assume the role of Successor

Special Servicer in the event FMER resigned or was unable to perform. Id. § 8.A.

But unlike FMER, U.S. Bank as Successor Special Servicer assumed only those

rights, duties, and obligations of the initial Special Servicer “to the extent expressly

required to be assumed and performed by the Back-Up Special Servicer under this

Agreement.” Id. Under the SSA, U.S. Bank is expressly prohibited from directly

undertaking special servicing activities and has no duty to monitor or supervise such

activities. See id. (“[N]othing in this Agreement shall be construed to require or

permit the Back-Up Special Servicer (in its capacity as Special Servicer or

otherwise) to undertake direct collection or enforcement activities . . . .” (emphasis

added)); id. § 8.D (U.S. Bank is not required to “supervise or monitor the

performance” of Servicers or Subservicers and “shall have no liability for the acts or

omissions of any such Servicer or Subservicer”). Because of this prohibition, FMER

simultaneously retained TSI’s predecessor-in-interest, NCO Financial Systems Inc.

(“NCO”), as Special Subservicer to manage special servicing on behalf of the Trusts

in the event U.S. Bank became Successor Special Servicer. See generally Ex. B,

Default Prevention and Collection Services Agreement (“TSI Agreement”). The


Cir. 2020) (“[A] document integral to or explicitly relied upon in the complaint may
be considered without converting the motion to dismiss into one for summary
judgment.” (quotation omitted)).

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TSI Agreement expressly provides that TSI will act as an “independent contractor[]”

for the Trusts. Id. § 11.4; see also Ex. A, SSA § 2.B(i) (directing the Special Servicer

to “retain[] and enter[] into agreements with licensed collection agencies and other

legally authorized persons (the ‘Subservicers’) . . . pursuant to which the

Subservicers, for and on behalf of the applicable Trust, will contact borrowers”

(emphasis added)). The TSI Agreement was attached as an exhibit and incorporated

by reference into the SSA and consented to by the Trust through its Owner Trustee

and the Trust Administrator. See id. § 8.G (requiring that U.S. Bank, as Back-Up

Special Servicer, “shall at all times maintain in full force (i) the NCO [TSI]

Agreement, and the engagement of NCO [TSI] thereunder as Subservicer”).

      When FMER resigned in 2012, U.S. Bank automatically became the

Successor Special Servicer and NCO’s role as Special Subservicer became

operative. Because U.S. Bank is expressly prohibited from undertaking special

servicing activities and because it has no duty to monitor or supervise subservicers,

Turnstile Capital Management, LLC (“TCM”) was engaged as an independent

contractor to perform certain responsibilities with respect to special servicing on

behalf of the Trusts. In 2014, NCO was succeeded by TSI to manage delinquent and

default loan servicing for the Trusts. See Compl. ¶ 37.




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                         III.   STANDARD OF REVIEW

      To survive a motion to dismiss, a complaint’s “[f]actual allegations must be

enough to raise a right to relief above the speculative level” and the complaint must

allege “enough facts to state a claim to relief that is plausible on its face.” Bell Atl.

Corp. v. Twombly, 550 U.S. 544, 555, 570 (2007). “[N]aked assertions devoid of

further factual enhancement” will not suffice. Ashcroft v. Iqbal, 556 U.S. 662, 678

(2009) (internal quotations and brackets omitted). Similarly, allegations that “are no

more than conclusions[] are not entitled to the assumption of truth.” Id. at 679.

      “To determine the adequacy of a complaint under this standard, a court

should: (1) identify the elements of the claim[]; (2) review the complaint to strike

conclusory allegations; and the[n], (3) consider . . . the well-plead[ed] components

of the complaint and evaluate whether all elements previously identified are

sufficiently alleged.” Mifflinburg Telegraph, Inc. v. Criswell, 80 F. Supp. 3d 566,

569 (M.D. Pa. 2015). “In addition, a document integral to or explicitly relied upon

in the complaint may be considered without converting the motion to dismiss into

one for summary judgment.” Doe v. Univ. of Scis., 961 F.3d 203, 208 (3d Cir. 2020)

(quotation omitted).     And allegations “contradicted” by documents properly

considered on a motion to dismiss need not be accepted as true. Genesis Bio-Pharm.,

Inc. v. Chiron Corp., 27 F. App’x 94, 99–100 (3d Cir. 2002).




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                                IV.    ARGUMENT

      A.     Gosse’s UTPCPL Claim is Barred by Pennsylvania’s Absolute
             Judicial Privilege Doctrine.
      Gosse bases her UTPCPL claim as to U.S. Bank exclusively on statements

made by other parties in prior state court litigation. See, e.g., Compl. ¶¶ 43 (“The

Trust, Transworld, and RLG alleged that [Gosse] had liability for a loan originated

by JP Morgan Chase … These statements were false, unfair, and deceptive.” Her

allegations are self-defeating. Pennsylvania’s absolute judicial privilege “sweeps

broadly to protect ‘[a]ll communications pertinent to any stage of a judicial

proceeding.” Schwartz v. OneWest Bank, FSB, 614 F. App’x 80, 82 (3d Cir. 2015)

(quoting Binder v. Triangle Publ’ns, Inc., 275 A.2d 53, 56 (Pa. 1971)). Courts have

consistently held the absolute judicial privilege bars UTPCPL claims premised on

statements in prior debt collection actions. See, e.g., id. at 81–82; Bainbridge v.

Ocwen Loan Servicing, LLC, No. 3:16-CV-0411, 2017 WL 1178047, at *21 (M.D.

Pa. Mar. 30, 2017) (same); Bronstein v. Bayview Loan Servicing, LLC, No. 18-4223,

2020 WL 703652, at *6 (E.D. Pa. Feb. 11, 2020) (same).

      B.     Gosse Fails to Satisfy the Pleading Requirements of the UTPCPL.
      Even if absolute judicial privilege did not apply, Gosse has not and cannot

adequately state a UTPCPL claim against U.S. Bank. The UTPCPL prohibits certain

“unfair or deceptive acts or practices” that are defined in 21 different provisions. 73

Pa. Stat. §§ 201-2(4), 201-9.2. Under any provision, a plaintiff must allege: “(1)

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deceptive conduct; (2) an ascertainable loss; (3) justifiable reliance on the

defendant’s wrongful conduct or misrepresentations; and (4) that such reliance

caused any injury.” Pellegrino v. State Farm Fire & Cas. Co., No. 12-2065, 2013

WL 3878591, at *8 (E.D. Pa. July 29, 2013), aff’d, 586 F. App’x 129 (3d Cir. 2014).

Moreover, to the extent Gosse alleges fraud in any element, she must meet a

heightened burden under Rule 9(b). See, e.g., Kee v. Zimmer, Inc., 871 F. Supp. 2d

405, 415 (E.D. Pa. 2012); see also Santana Prods., Inc. v. Bobrick Washroom

Equip., Inc., 401 F.3d 123, 136 (3d Cir. 2005) (noting a plaintiff “must prove the

common law fraud elements of reliance and causation with respect to all subsections

of the UTPCPL”); Weinberg v. Sun Co., 777 A.2d 442, 446 (Pa. 2001) (“The

UTPCL’s underlying foundation is fraud prevention.”).

             1.     Gosse Does Not Allege Any Particular Wrongful Conduct
                    Under the UTPCPL.
      As a threshold matter, Gosse has not even managed to state which of the 21

UTPCPL provisions U.S. Bank—or any Defendant—allegedly violated. Nor has

she identified any deceptive, misleading, or fraudulent act committed by U.S. Bank,

in particular. Her sole allegation in Count III is that “Defendants have engaged in

unfair and deceptive business practices,” Compl. ¶ 96, but such an “unadorned, the-

defendant-unlawfully-harmed-me accusation” is plainly insufficient to plead a

UTPCPL claim, Ashcroft, 556 U.S. at 678. Indeed, “General allegations that

defendant engaged in deceptive conduct . . . are insufficient; a plaintiff must identify

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the specific act, omission or misrepresentation ‘in order to demonstrate that such

confusion or misunderstanding was caused by certain acts or omissions on the part

of the Defendants.’” Doherty v. Allstate Indem. Co., No. 15-05165, 2016 WL

5390638, at *6 (E.D. Pa. Sept. 27, 2016); Garczynski v. Countrywide Home Loans,

Inc., 656 F. Supp. 2d 505, 512 (E.D. Pa. 2009) (dismissing UTPCPL claim where

plaintiffs failed to allege a defendant “made any representations to them”). These

failures alone are fatal to Gosse’s claim against U.S. Bank.

             2.    Gosse Is Not A “Purchaser” Vis-à-Vis U.S. Bank Under The
                   UTPCPL.
      Even if Gosse had alleged specific wrongdoing by U.S. Bank that allegedly

violated a specific provision under the UTPCPL, she does not allege she is a

“purchaser” in the context of her relationship (or lack thereof) with U.S. Bank.

      The UTPCPL provides a cause of action for “[a]ny person who purchases or

leases goods or services . . . and thereby suffers any ascertainable loss of money or

property . . . as a result of the use or employment by any person of a method, act or

practice declared unlawful under” the UTPCPL, 73 Pa. Stat. § 201-9.2.              The

statutory text demonstrates that the defendant itself must have engaged in an

unlawful “method, act or practice” that caused “ascertainable loss” vis-à-vis the

“purchase[] or lease[]” of “good or services.” See id.

      The Third Circuit recognizes that while “strict privity is not always an element

of the private cause of action,” a plaintiff “lacking any commercial dealings with” a

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defendant cannot bring a UTPCPL claim against that defendant. E.g., Katz v. Aetna

Cas. & Sur. Co., 972 F.2d 53, 57 (3d Cir. 1992). Gosse does not allege that she

“purchase[d]” any “goods or services” from U.S. Bank. See Lawrence v. Trans

Union LLC, 296 F. Supp. 2d 582, 592 (E.D. Pa. 2003) (holding that “consumers

cannot sue consumer reporting agencies under the [UTPCPL] who have not sold or

leased goods to them”). And Gosse cannot bridge this gap, because she does not and

cannot allege a causal relationship between any U.S. Bank conduct and her injury.

See, e.g., Portis v. River House Assocs., L.P., 498 F. Supp. 2d 746, 753 (M.D. Pa.

2007). In short, Gosse has not (and cannot) plausibly allege that she purchased any

goods or services from U.S. Bank or that she suffered any loss “as a result of”

conduct or representations by U.S. Bank. See 73 Pa. Stat. § 201-9.2.3

             3.    Gosse Cannot Plead that She Justifiably Relied on Any
                   Conduct or Representation by U.S. Bank.
      Gosse relatedly fails to plead that she relied on any conduct or representation

by U.S. Bank. Justifiable reliance is a necessary element to any UTPCPL claim.


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        To the extent Gosse’s theory for U.S. Bank’s liability is predicated on its
alleged failure to properly attend to its duties as Successor Special Servicer, Gosse
fares no better. See, e.g., Compl. ¶¶ 16, 21, 27, 29, 45. Gosse does not allege how
U.S. Bank’s performance under contracts to which Gosse is not even a party
becomes “unlawful” conduct under the UTPCPL. And she cannot, for U.S. Bank
has no duty to “supervise or monitor” the performance of Servicers or Subservicers
and “shall have no liability for the acts or omissions of any such Servicer or
Subservicer.” SSA § 8.D; see also id. § 8.A (U.S. Bank assumed only those rights,
duties, and obligations of the initial Special Servicer “to the extent expressly
required to be assumed and performed by the Back-Up Special Servicer under this
Agreement” and therefore took on no implied duties).
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Hunt v. U.S. Tobacco Co., 538 F.3d 217, 224 (3d Cir. 2008); see also Weinberg, 777

A.2d at 446 (noting the Legislature “[n]ever intended statutory language directed

against consumer fraud to do away with the traditional common law elements of

reliance and causation”). And a plaintiff must show the defendant had “knowledge

of the falsity of [its] statements or the misleading quality of [its] conduct.” Belmont

v. MB Inv. Partners, Inc., 708 F.3d 470, 498 (3d Cir. 2013). Here, Gosse makes

only conclusory allegations of wrongdoing and her related reliance. And those

allegations fail for two reasons.

      First, the only allegedly deceptive conduct Gosse asserts gave rise to her claim

against U.S. Bank relates to the state court collections litigation. See Compl. ¶¶ 41–

49. But she does not identify any false statements or misleading conduct by U.S.

Bank on that front. Indeed, her only allegation concerning U.S. Bank and the lawsuit

is her statement that the “complaint filed by the Trust, with the aid and assistance of

U.S. Bank and their debt collectors Transworld and RLG, was unfair, abusive, and

deceptive.” Id. ¶ 45 (emphasis added). Conclusory allegations of this sort fail to

allege any specific conduct or representations by U.S. Bank that Gosse relied on to

her detriment, and “nonfeasance alone is not sufficient to raise a claim pursuant to

the [UTPCPL].” Edwards v. Monumental Life Ins. Co., No. 17-5260, 2017 WL

6327573, at *3 (E.D. Pa. Dec. 11, 2017) (quoting Gordon v. Pa. Blue Shield, 548

A.2d 600, 604 (Pa. Super. Ct. 1988)). And even assuming Gosse could allege more


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than a mere conclusion regarding U.S. Bank’s ostensible “aid and assistance,” see

Compl. ¶¶ 21, 27, 29, 45, the Court would need not accept such allegations because

the relevant contract “contradicts” them. See Genesis Bio-Pharm., 27 F. App’x at

99–100. After all, U.S. Bank is prohibited from undertaking direct collections or

enforcement activities. See, e.g., Ex. A, SSA § 8.A (“[N]othing in this Agreement

shall be construed to require or permit the Back-Up Special Servicer (in its capacity

as Special Servicer or otherwise) to undertake direct collection or enforcement

activities . . . .” (emphasis added)). Moreover, Gosse’s other allegations concerning

U.S. Bank’s omissions or “duties” to prevent wrongdoing, Compl. ¶¶ 16, 21, fail as

a matter of law (and contract). See, e.g., Duffy v. Lawyers Title Ins. Co., 972 F.

Supp. 2d 683, 696–98, 696 n.29 (E.D. Pa. 2013) (characterizing plaintiffs’ argument

that defendant Fidelity “had a duty to discover and disclose the fraud” of a purported

agent as “reaching”—the UTPCPL “simply does not protect claims like this made

by plaintiffs”); Stoudt v. Alta Fin. Mortg., No. 08–cv–2643, 2009 WL 661924, at *3

(E.D. Pa. Mar. 10, 2009) (finding allegations that defendant, as assignee of a loan,

“knew or should have known” the loan was predatory and had “a duty to review the

loan” and a “duty of reasonable care” did “not constitute violations of

Pennsylvania’s consumer protection laws or fraud”); see also SSA §§ 8.A, 8.D.

      Second, Gosse does not allege that she “justifiably relied” on any alleged

misrepresentation by any other party, either. In fact, Gosse alleges the opposite—


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that she retained counsel and filed objections to the state court lawsuit, ultimately

winning dismissal. See Compl. ¶¶ 42–45, 49. So Gosse’s claim fails for that

independent reason.     See Bainbridge, 2017 WL 1178047, at *21 (dismissing

UTPCPL claim because the plaintiff had retained counsel to successfully defend the

foreclosure action—i.e., “[t]he basis of Plaintiffs’ UTPCPL claim hinge[d] on the

fact that they did not rely on the alleged misrepresentations”).

      In short, the UTPCPL imposes liability only on parties who themselves have

engaged in misconduct or misrepresentation. See, e.g., Belmont, 708 F.3d at 498

(“[A] defendant cannot be held derivatively liable under the UTPCPL for the

fraudulent actions of a third party when plaintiff fails to allege or present any

evidence that [the defendant] ever knowingly engaged in misrepresentation.”

(internal quotation marks omitted)); Williams v. Nat’l Sch. of Health Tech., Inc., 836

F. Supp. 273, 283 (E.D. Pa. 1993) (similar).

             4.    Neither Can Gosse Plead that She Suffered an Ascertainable
                   Loss.
      Gosse’s UTPCPL claim fails for yet another reason: she has not and cannot

allege that she suffered an ascertainable loss. In addition to alleging justifiable

reliance, the plaintiff must also allege that she suffered harm as a result of that

reliance. Walkup v. Santander Bank, N.A., 147 F. Supp. 3d 349, 358 (E.D. Pa. 2015);

see, e.g., Weinberg, 777 A.2d at 446 (“The statute clearly requires, in a private

action, that a plaintiff suffer an ascertainable loss as a result of the defendant’s

                                          13
prohibited action.”). For claims under the UTPCPL, the ascertainable loss must be

a loss of money or property—shame, embarrassment, or reputational injury do not

count. Walkup, 147 F. Supp. 3d at 358.

      Gosse alleges only that she “sustained damages and losses in the form of (i)

incurred costs to defend the Defendants’ improperly pursued debt collection actions,

(ii) payments made to the Defendants which were not lawfully owed, and (iii) stress,

worry, frustration, and anxiety related to the Defendants’ debt collection activities.”

Compl. ¶ 4. Gosse strikes out: First, Gosse’s alleged prior state litigation costs are

not recoverable because absolute judicial privilege bars her claim. See supra Part

A. Second, Gosse wholly fails to identify any “payments made” that “were not

lawfully owed”—nor does she allege that such payments were made in reliance on

U.S. Bank’s conduct or representations—and such a conclusory allegation cannot

preserve Gosse’s claim on a motion to dismiss. See Ashcroft, 556 U.S. at 678. And

third, “stress, worry, frustration, and anxiety” are not “money or property” and are

thus insufficient for a private plaintiff to make out a claim under the UTPCPL. See

Walkup, 147 F. Supp. 3d at 358.

      C.     U.S. Bank Cannot Be Held Indirectly Liable.
      Gosse cannot state a UTPCPL claim against U.S. Bank. Nor can she plead

that U.S. Bank somehow may be indirectly liable for the alleged misconduct of the

other Defendants. Under Pennsylvania law, “[t]he three basic elements of agency


                                          14
are: (1) the manifestation by the principal that the agent shall act for him, (2) the

agent’s acceptance of the undertaking, and (3) the understanding of the parties that

the principal is to be in control of the undertaking.” Fairmont Supply Co. v.

Cressman Tubular Prod. Corp., No. 10-cv-1606, 2011 WL 1327416, at *3 (W.D.

Pa. Apr. 6, 2011) (citing CGB Occupational Therapy, Inc. v. RHA Health Servs. Inc.,

357 F.3d 375, 385 (3d Cir. 2004)). Despite Gosse’s allegations that “TSI is an agent

of U.S. Bank,”4 Compl. ¶ 19, and that U.S. Bank is therefore “responsible for the

wrongful conduct of [TSI],” id. ¶ 22, Gosse’s claim fails because (1) TSI acts on

behalf of the Trusts, not U.S. Bank, and (2) U.S. Bank lacks the requisite right to

control the manner of TSI’s collection activities. Because Gosse cannot allege any

factual assertions that U.S. Bank has a right to control TSI’s collection efforts and

because Gosse’s conclusory allegations contradict the governing contracts, Gosse

cannot plead that U.S. Bank may be vicariously liable for TSI’s alleged misconduct.




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         Gosse’s allegation that “TSI is an agent of U.S. Bank” is lifted from a
“verified amended complaint” filed by the Trust’s equity (or “residual”) owners in
the Chancery Court of Delaware. See Compl. ¶¶ 18–25. On May 31, 2020—before
Gosse filed her Complaint—the U.S. District Court for the District of Delaware, in
another case, held that the Trust’s equity owners have no authority to act in the
Trust’s name without directing the Trust’s Owner Trustee. See CFPB v. Nat’l
Collegiate Master Student Tr., No. 17-1323 (MN), 2020 WL 2915759, at *3 (D. Del.
May 31, 2020); see also In re Nat’l Collegiate Student Loan Trusts Litig., No. 12111-
VCS, 2020 WL 5049402, at *37–40 (Del. Ch. Aug. 27, 2020). Thus, the verified
amended complaint was filed without authorization and Gosse’s quotations cannot
be construed as admissions by any Defendant here.

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             1.    TSI Acts on Behalf of the Trusts, Not U.S. Bank.
      U.S. Bank cannot be held liable for TSI’s alleged misconduct because TSI is

not an agent of U.S. Bank but rather independently acts “on behalf of” the Trusts as

an independent contractor. Ex. B, TSI Agreement § 11.4. Gosse’s conclusory

allegation that TSI is U.S. Bank’s agent is directly contradicted by the contracts

governing both TSI and U.S. Bank; those contracts make clear that no agency

relationship exists. See Laidley v. Johnson, No. 09-395, 2011 WL 2784807, at *4

(E.D. Pa. July 11, 2011) (holding that vicarious liability could not be imposed under

a UTPCPL claim where the relevant agreement stated no agency relationship

existed). The SSA disclaims such a relationship, expressly limiting U.S. Bank’s

duties and liabilities in its role as Back-Up Special Servicer: U.S. Bank “shall have

no liability for the acts or omissions of any . . . Subservicer in performing its

obligations under the applicable Servicing Agreement,” and U.S. Bank shall not be

required to “supervise or monitor the performance of such Servicers or

Subservicers.” Ex. A, SSA § 8.D. Instead, the SSA expressly directs the Special

Servicer to “retain[] and enter[] into agreements with licensed collection agencies

and other legally authorized persons (the ‘Subservicers’) . . . pursuant to which the

Subservicers, for and on behalf of the applicable Trust, will contact borrowers.” Id.

§ 2.B(i) (emphasis added); see also id. § 2.B(viii) (providing that the Special

Servicer will “refer the loan for collection by a Subservicer on behalf of such Trust”


                                         16
(emphasis added)). Under these terms, and as Gosse alleges (see Compl. ¶¶ 30, 52),

TSI acts “on behalf of the Trust”, not U.S. Bank, and therefore TSI cannot be U.S.

Bank’s agent.

      Because the governing contracts expressly disclaim an agency relationship

between TSI and U.S. Bank, see, e.g., Ex. B, TSI Agreement § 11.4 (stating that TSI

is “in the position of [an] independent contractor[]”), Gosse cannot plead that U.S.

Bank is liable under the UTPCPL on an agency theory.

             2.     U.S. Bank Lacks the Requisite Control over TSI.
      Furthermore, Gosse cannot adequately state the existence of an agency

relationship between U.S. Bank and TSI here because Gosse has not and cannot

allege any factual assertions evidencing a right to control TSI’s collection activities.

Agency, alone, is insufficient to impose vicarious liability. See, e.g., A.B. v. Marriott

Int’l, Inc., 455 F. Supp. 3d 171, 195 (E.D. Pa. 2020); see also Black v. Field Asset

Servs., LLC, No. 17-4003, 2018 WL 5264319, at *2 (E.D. Pa. Oct. 23, 2018)

(clarifying that an agency relationship is only “a prerequisite to the imposition of

vicarious liability”). “[T]he focus of th[e] inquiry should be whether the alleged

master has day-to-day control over the manner of the alleged servant’s

performance.” Id. (quotation omitted); see also Castle Cheese, Inc. v. MS Produce,

Inc., No. 04-878, 2008 WL 4372856, at *9 (W.D. Pa. Sept. 19, 2008). Courts should

look to any relevant written agreement to determine whether a party has a sufficient


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degree of control. See, e.g., Nolden v. United States, No. 1:12-cv-01541, 2013 WL

3102344, at *3–4 (M.D. Pa. June 18, 2013).

      Here, the SSA expressly limits U.S. Bank’s authority as Back-Up Special

Servicer, stating that “nothing in this Agreement shall be construed to require or

permit the Back-Up Special Servicer (in its capacity as Special Servicer or

otherwise) to undertake direct collection or enforcement activities,” Ex. A, SSA

§ 8.A, and that “the Back-Up Special Servicer in its capacity as successor Special

Servicer” is not        required to “supervise or monitor the performance

of . . . Subservicers,” id. § 8.D. The SSA also provides that the “Back-Up Special

Servicer (including in its capacity as Special Servicer) shall have no liability for the

acts and omissions of any such . . . Subservicer in performing its obligations under

the applicable Servicing Agreement.” Id. These provisions clearly indicate that (1)

U.S. Bank lacks control over TSI’s performance under the governing contracts and

(2) the parties did not intend for U.S. Bank to have or exercise such control. To the

extent Gosse lodges conclusory allegations contrary to the plain language of the

Agreement—for example, that U.S. Bank had duties to and “failed to monitor

Turnstile’s performance and failed to replace Turnstile a Subservicer,” Compl.

¶ 20—the Court can ignore them. See Genesis Bio-Pharm., 27 F. App’x at 99–100.

      Gosse, on the other hand, fails to allege any factual assertions from which one

could even infer a right to control. Indeed, the express language in the SSA and TSI


                                          18
Agreement preclude her from ever doing so. Instead, Gosse makes conclusory

allegations that U.S. Bank has “aided and abetted” the alleged misconduct of the

other Defendants, see Compl. ¶¶ 21, 27, 29, 45, but fails to allege that U.S. Bank

actually participates in any way. In short, because U.S. Bank does not control the

manner of TSI’s “day-to-day” performance, U.S. Bank cannot be held vicariously

liable for TSI’s alleged misconduct. See Black, 2018 WL 5264319, at *3.

        D.      Gosse Does Not (and Cannot) Assert Count II Against U.S. Bank.
        Finally, in Count II, Gosse purports to state an FCEUA claim against “the

Defendants Transworld and RLG,” period. Compl. ¶ 91. Though Gosse later avers

vaguely that the “remaining Defendants as creditors have engaged in acts prohibited

by the FCEUA,” id. ¶ 93, she does not identify or purport to assert a claim against

U.S. Bank, in particular. Nor could she, as the FCEUA applies only to debt

collectors and to creditors “with respect to the debt collection activities.” 73 Pa.

Stat. § 2270.4(b). Gosse does not and cannot allege that U.S. Bank falls under either

category. See Compl. ¶ 93; Ex. A, SSA § 8.A (“[N]othing in this Agreement shall

be construed to require or permit the Back-Up Special Servicer (in its capacity as

Special Servicer or otherwise) to undertake direct collection or enforcement

activities . . . .”).

        More fundamentally, the FCEUA “does not provide a private cause of action

for violations; instead plaintiffs must use the UTPCPL’s remedy provision to obtain


                                         19
relief.” Prukala v. Chase Bank, N.A., No. 3:19-CV-1791, 2020 WL 5351042, at *3

(M.D. Pa. Sept. 4, 2020) (Mariani, J.). “Consequently, to plead a cause of action

under the FCEUA, plaintiffs must be able to state a claim under the UTPCPL.” Id.

Therefore, even if Gosse had alleged a valid claim against U.S. Bank, in particular,

such a claim would fail.

                              V.    CONCLUSION

      For the foregoing reasons, the Court should dismiss Gosse’s Complaint as to

U.S. Bank with prejudice.




                                        20
Dated:   November 9, 2020    Respectfully submitted,

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                            21
                          RULE 7.8(b)(2) CERTIFICATE

      Pursuant to Middle District Local Rule 7.8(b)(2), the undersigned hereby

certifies that the text body of the brief is 4,998 words in length, not including the

case caption, table of contents, table of authorities, signature block, or the

following certificates.

                                              /s/ Kelly M. Locher
                                             Kelly M. Locher

                                             Counsel for Defendant U.S. Bank, N.A.
                          CERTIFICATE OF SERVICE

      I hereby certify that on this 9th day of November, 2020, I filed the foregoing

with the Clerk of the United States District Court using the CM/ECF system,

which will send notification electronically to all counsel of record.

                                             /s/ Kelly M. Locher
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